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November 4, 2024

VIA ECF

Hon. Edgardo Ramos
United States District Court, Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom 619
New York, NY 10007

Re:    SEC v. Sun, et al., Case No. 1:23-cv-2433-ER (S.D.N.Y)

Dear Judge Ramos:

We represent defendants Tron Foundation Limited, BitTorrent Foundation Ltd., Justin Sun, and
Rainberry, Inc. (collectively, “Defendants”). We write in response to plaintiff the SEC’s Notice of
Supplemental Authority (ECF No. 74) concerning the recent decision in Hardin v. Tron Foundation
et al., No. 1:20-cv-2804 (VSB) (S.D.N.Y. Oct. 23, 2024). While Hardin involves some surface
commonalities to this case, in that it involves one of the same tokens (“TRX”) and two overlapping
defendants, the similarities end there. The SEC’s transparent (and belated) attempt to portray
that unrelated case and Judge Broderick’s opinion in it as highly relevant to the case it brought
does not withstand scrutiny. If anything, Hardin illustrates why the SEC’s complaint here, which
altogether lacks specific allegations identifying the who, what, when, and where of transactions
supposedly violating the securities laws, much less in the United States, should be dismissed.

Plaintiffs in Hardin, a putative class action, allege that the Tron Foundation and Justin Sun (named
solely as an alleged “control” person), violated Sections 12(a)(1)-(2) of the Securities Act of 1933
“by promoting, offering, and selling unregistered securities through an initial coin offering [“ICO”]
of the digital asset TRX” without a registration statement. ECF No. 74-1 at 1-2. Despite having
targeted the ICO in their complaint, the Hardin plaintiffs did not participate in it. Id. at 5. Instead,
after the ICO, they purchased “TRX” in the secondary market on Binance. Id. Defendants moved
to dismiss on a variety of grounds, and Judge Broderick granted the motion with respect to
plaintiffs’ Section 12(a)(2) claims and denied it with respect to Section 12(a)(1) claims.

This case does not involve the same transactions as Hardin and the distinction is a critical one.
As the SEC is well-aware, Section 5 targets particular transactions of unregistered securities, and
thus liability under it (for which Section 12(a)(1) provides a private right of action) turns on an
assessment of the specific facts relating to particular sales of the particular unregistered
“security” alleged. See, e.g., S.E.C. v. Cavanagh, 155 F.3d 129, 133 (2d Cir. 1998) (“Each sale of a
security, then, must either be made pursuant to a registration statement or fall under a
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registration exemption.”) 1; Levitt v. J.P. Morgan Secs. Inc., 9 F. Supp. 3d 259, 273 (E.D.N.Y. 2014)
(“[O]nce a security has been sold pursuant to a registration statement, subsequent sales are not
themselves sales for which a registration statement is in effect. Each sale of a security, then,
must either be made pursuant to a registration statement or fall under a registration
exemption.”). Other courts have focused on this exact principle in the context of blockchain
tokens. See, e.g., SEC v. Binance Holdings, Ltd., --- F. Supp. 3d ----, 2024 WL 3225974, at *22
(D.D.C. June 28, 2024) (“Insisting that an asset that was the subject of an alleged investment
contract is itself a ‘security’ as it moves forward in commerce and is bought and sold by private
individuals on any number of exchanges . . . over an indefinite period of time, marks a departure
from the Howey framework that leaves the Court, the industry, and future buyers and sellers
with no clear differentiating principle between tokens in the marketplace that are securities and
tokens that aren’t.”). Simply put, this case does not turn on the ICO or on allegations about other
transactions made by private plaintiffs in another case.

And because the alleged transactions at issue are different, so are the legal questions that must
be addressed. While the SEC points to Hardin as providing relevant authority on questions of
specific personal jurisdiction and extraterritoriality, it is fundamental that those issues must be
analyzed in the context of the specific claims and allegations in this case, not any other. Hardin
simply has no application here.

In finding that specific personal jurisdiction was established in Hardin, Judge Broderick relied on
three sets of allegations made in that case: (1) social media and marketing posts relating to TRX
and allegedly targeting the United States in 2018, 2019, and 2020; (2) the alleged presence of
Mr. Sun at conferences in the United States in 2017 and 2018; and (3) the claimed opening of a
“Tron” office in California, the operation of a U.S.-based website, the listing of “San Francisco” as
the location on the Tron Foundation’s Twitter account, and alleged outreach/coordination with
exchanges in the United States. ECF No. 74-1 at 13-15. Taken as true, the court found such
alleged conduct sufficed to establish that Tron Foundation and Mr. Sun engaged in “substantial
suit-related conduct in the United States” giving rise to claims related to plaintiffs’ specifically
alleged U.S.-based purchases of TRX. Id. at 15.

However, despite the SEC’s suggestion that Hardin’s analysis should displace the required
personal jurisdiction analysis here, whether the particular claims in Hardin arose from conduct
directed to the United States is irrelevant to whether the same is true of the SEC’s entirely
different claims. As this Court has held, specific personal jurisdiction requires that “the suit must
arise out of the defendants’ contacts which create a substantial connection with the forum
state.” In re SSA Bonds Antitrust Litig., 420 F. Supp. 3d 219, 235 (S.D.N.Y. 2019) (Ramos, J.); see
also Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 592 U.S. 351, 362 (2021) (for specific
personal jurisdiction, conduct must “arise out of or relate to the defendant’s contacts with the
forum”). The SEC “has the burden of establishing that the Court has jurisdiction over” each
defendant. Shenzhen OKT Lighting Co. v. JLC-Tech LLC, 2021 WL 4443637, at *4 (S.D.N.Y. Sept.
28, 2021) (Ramos, J.). That obligation must be met, not just “with respect to each defendant

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    Internal citations and quotation marks have been omitted.


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individually,” Berdeaux v. OneCoin Ltd., 561 F. Supp. 3d 379, 396 (S.D.N.Y. Sept. 20, 2021), but
also “with respect to each claim asserted,” In re LIBOR-Based Fin. Instruments Antitrust Litig.,
2019 WL 1331830, at *6 (S.D.N.Y. Mar. 25, 2019).

Though defendants respectfully disagree with Judge Broderick’s assessment that the contacts
with the United States alleged in Hardin suffice (and also contest the plausibility of some of those
allegations), 2 Hardin at least attempts to make a connection that the SEC does not even try to
make here. In Hardin, plaintiffs alleged that they had bought their tokens in the United States,
ECF No. 74-1 at 31, and that they did so “after being subjected to these targeted efforts—visiting
TRON’s website, reviewing the whitepapers, and reading TRON’s social media posts,” id. at 18.
By contrast, the SEC’s Amended Complaint does nothing to specifically allege how the Tron
Foundation’s or Mr. Sun’s contacts with the United States supposedly gave rise to the particular
sales of unregistered securities alleged in this case. Instead, the SEC offers the conclusory refrain
that defendants “targeted U.S. investors” or “made unregistered domestic sales” in the United
States. ECF No. 74 at 2 n.3. These are not sufficient, as addressed at length in Defendants’
submission in connection with their pending motion to dismiss. See ECF No. 62 at 11-25
(explaining that these conclusory allegations are insufficient); ECF No. 67 at 2-4 (same).

As for extraterritoriality, plaintiffs in Hardin alleged that they “placed their trades in Nevada and
Texas” and continued to buy and sell TRX in the United States. ECF No. 74-1 at 31. By contrast,
the SEC’s Amended Complaint contains no specific allegation that any transaction supposedly
violating the securities laws was placed from the United States. See ECF No. 62 at 34-36. Instead,
the SEC generically alleges that “the Sun Defendants targeted U.S. investors with offers of TRX
and BTT,” (the latter token is not even at issue in Hardin), “and then made unregistered domestic
sales of TRX and BTT to investors who bought those crypto securities while located in the U.S.”
ECF No. 74 at 2 n.3.

Finally, if the SEC truly viewed Hardin as even potentially related to this case because it involved
“the same or substantially similar parties, property, transactions, or events,” it was obligated
under the local rules to notice Hardin as a related case. Rule 13(a), Rules for the Division of
Business Among District Judges, S.D.N.Y (Oct. 16, 2023); Local Civil Rule 1.6, Duty of Attorneys in
Related Cases (“Unless another attorney has already done so, each attorney appearing in a case
must bring to the attention of the court potentially related cases, to the extent required by the
Division of Business Rules in the district where the case was filed.”). The SEC did not do so and
could not do so. The cases are just not one in the same.

The legal questions at issue here require the precise application of the securities laws to the
particular transactions and conduct alleged in this case, no other. The SEC knows that. This
latest effort to supplement its own deficient pleading, by leaning on Judge Broderick’s analysis of


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  For example, Hardin did not distinguish between discussions in or relating to the U.S. about the Tron blockchain
and protocol generally, as opposed to the TRX token. It also overlooked that the U.S. office allegation was, in fact,
contested, and the decision did not appear to account for the substantial time that has passed since that case was
filed in the forum non conveniens analysis.


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different transactions by different plaintiffs is telling. Lacking precision about what conduct,
undertaken by whom, and when, violated which provisions of the securities laws, the Amended
Complaint should be dismissed on its own merit and Hardin offers nothing to save the SEC from
that result.

                                            Sincerely,

                                            FENWICK & WEST LLP

                                            /s/ Jennifer Bretan



cc: All Counsel of Record (via ECF)




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